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                                                                                     2022 Jul-18 AM 10:14
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


D’WANNA WILLIAMS,                              ]
                                               ]
      Plaintiff,                               ]
                                               ]
v.                                             ]             2:22-cv-00163-ACA
                                               ]
CRMC, LLC,                                     ]
                                               ]
      Defendant.                               ]

                                   FINAL ORDER

      The court, having received the joint stipulation of dismissal requesting entry

of a dismissal order (doc. 9), DISMISSES this action WITH PREJUDICE. Except

as set forth in the parties’ stipulation for settlement, each party shall bear her or its

own attorneys’ fees and costs.

      The court DIRECTS the Clerk to close this case.

      DONE and ORDERED this July 18, 2022.



                                      _________________________________
                                      ANNEMARIE CARNEY AXON
                                      UNITED STATES DISTRICT JUDGE
